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                  UNITED STATES COURT OF APPEALS                  FILED
                         FOR THE NINTH CIRCUIT                     JUL 21 2020
                                                               MOLLY C. DWYER, CLERK
                                                                U.S. COURT OF APPEALS
STATE OF WASHINGTON; et al.,               No. 20-35030

              Plaintiffs-Appellees,        D.C. No. 2:18-cv-01115-RSL
                                           Western District of Washington,
 v.                                        Seattle

DEFENSE DISTRIBUTED,                       ORDER

              Defendant-Appellant.

 and

US DEPARTMENT OF STATE; et al.,

              Defendants,

SECOND AMENDMENT FOUNDATION,
INC.; CONN WILLIAMSON,

              Defendants,


STATE OF WASHINGTON; et al.,               No. 20-35064

              Plaintiffs-Appellees,        D.C. No. 2:18-cv-01115-RSL

 v.

US DEPARTMENT OF STATE; et al.,

              Defendants,

and




LCC/MOATT
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SECOND AMENDMENT FOUNDATION;
CONN WILLIAMSON,

                 Defendants-Appellants.

Before: THOMAS, Chief Judge, SCHROEDER and CALLAHAN, Circuit Judges.

      Appellees have moved to dismiss these consolidated appeals as moot

(Docket Entry No. 20 in No. 20-35030). On June 19, 2020, this court issued an

order to show cause as to whether appellants possess the requisite standing to bring

and/or prosecute these appeals.

      Upon a review of the record, the briefing on the motion to dismiss, and the

responses to the court’s June 19, 2020 order, we conclude that these appeals are

moot because no present controversy exists as to which any effective relief may be

granted to appellants. See Nome Eskimo Cmty. v. Babbitt, 67 F.3d 813, 815-16

(9th Cir. 1995) (affirming dismissal of action to enjoin government’s sale of

disputed lands as moot where government voluntarily canceled sale and “there was

no immediate prospect of another, similar lease sale”).

      Accordingly, the motion to dismiss is granted. These appeals are dismissed

for lack of jurisdiction.

      DISMISSED.




LCC/MOATT                                 2                                     20-35030
